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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    United States of America,                            CR 20-1706-TUC-JGZ (MSA)
10                  Plaintiff,
                                                              ORDER
11    v.                                               CONTINUING PLEA DEADLINE
                                                             AND TRIAL
12    Carlos Victor Passapera Pinott,
13                  Defendant.
14
15
16          This case is presently set for trial on February 2, 2021. The Defendant filed a
17   motion to continue and, for the reasons set forth therein, additional time is required to
18   adequately prepare for trial. The Government has no objection to a continuance.
19          The Court finds that the ends of justice served by continuing this case outweigh the
20   best interests of the public and the defendant in a speedy trial.
21          This finding is based on the following facts: (a) the President of the United States
22   has declared a national emergency in response to the spread of the COVID 19 virus; (b)
23   the Governor of Arizona has also declared a state of emergency; (c) the Chief Judge of this
24   Court has entered General Order 21-02 in response to the national emergency; (d) the
25   Court’s ability to obtain and screen a fair cross-section of jurors has been impaired by the
26   national emergency; and (e) potential health risks raised by convening a large number of
27   jurors for jury selection, and by holding daily trial involving counsel and their assistants,
28   court staff, representatives of the Marshal’s office, jurors, and the parties, could distract
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 1   participants or hurry the trial process in a manner inconsistent with the ends of justice.
 2          IT IS ORDERED as follows:
 3          1. The date by which the referred magistrate judge hears the change of plea must
 4   be no later than April 16, 2021 by 3:00 p.m.
 5          2. All motions, unless made during a hearing or trial, shall be in writing and shall
 6   be made sufficiently in advance of trial to comply with the time periods set forth in
 7   LRCiv. 7.2 and any court order and to avoid any delays in the trial. Pretrial motions may
 8   be heard before a magistrate judge and a Report and Recommendation will be provided to
 9   the district judge assigned to the case.
10          3. This matter is RESET for trial on May 4, 2021 at 9:30 a.m. Counsel are to be
11   present at 9:00 a.m.
12          4. Excludable delay under 18 U.S.C. §3161(h)(7) is found to commence on
13   February 3, 2021 and end on May 4, 2021. Such time shall be in addition to other
14   excludable time under the Speedy Trial Act and shall commence as of the day following
15   the day that would otherwise be the last day for commencement of trial.
16          5. That any and all subpoenas previously issued shall remain in full force and
17   effect through the new trial date.
18          6. Any motion or stipulation to continue the scheduled trial date and change
19   of plea deadline shall be filed with the Clerk of Court no later than 5:00 p.m., Monday,
20   April 19, 2021. Alternatively, by that same deadline, if after consultation between
21   government and defense counsel it is determined that a motion to continue the
22   scheduled trial date and change of plea deadline will not be filed, government counsel
23   shall notify the Court by an email to the chambers email address that the case
24   ///
25   ///
26   ///
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 1   and counsel are ready to proceed to trial on the scheduled trial date. The notification
 2   shall also include the estimated number of trial days needed to complete the trial.
 3         Dated this 20th day of January, 2021.
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